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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO


JONATHAN PAUL NEALY,

               Plaintiff,
       vs.                                            CIV No. 1:20-00698-KRS

ANDREW SAUL,
Commissioner of Social Security,

               Defendant.
                                  ORDER GRANTING EXTENSION

       THIS MATTER having come before the Court upon Defendant’s Unopposed Motion for

Extension of Time to File the Electronic Certified Administrative Record and Answer to

Plaintiff’s Complaint (Doc. 10), it being stated that Plaintiff concurs in the granting of the

motion, the Court having read the motion and being fully advised in the premises finds that there

is good cause for granting the motion.

       IT IS THEREFORE ORDERED that Defendant is granted through December 22, 2020,

to file his answer or otherwise respond to Plaintiff’s Complaint.




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                                               ___________________________________
                                               KEVIN R. SWEAZEA
                                               UNITED STATES MAGISTRATE JUDGE


SUBMITTED AND APPROVED BY:
Electronically submitted 10/20/2020
MELISSA SCHUENEMANN
Special Assistant United States Attorney

Electronically approved 10/20/2020
LAURA J. JOHNSON
Attorney for Plaintiff
